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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION
       IN RE:                                          )    CASE NO. 19-68019-LRC
                                                       )
       ALLEN LAURENCE RICHARDSON                       )    CHAPTER 13
                                                       )
                Debtor.                                )

                          MOTION TO EXTEND AUTOMATIC STAY
       COMES NOW Debtor, Allen Laurence Richardson, and asks this Court to extend the
automatic stay of 11 U.S.C. Section 362(a) in this Chapter 13 Bankruptcy Case against all
Creditors and show the Court the following:
                                                  1.
       On November 8, 2019, Debtor filed a Voluntary Petition for Bankruptcy relief under
Title 11, Chapter 13 of the United States Code.
                                                  2.
       Debtor has filed a previous Chapter 13 bankruptcy case, bringing it within 11 U.S.C.
Section 362(c)(3). Case No. 19-51973 was filed on February 4, 2019 (the “First Case”) and
dismissed on September 6 2019.
                                                  3.
                Debtor’s First Case was dismissed for failure to catch up a delinquency after a 20
day status. During the pendency of the First Case, Debtor was also involved in a Chapter 11 case
filed for his business (Case No l7-72345-PWB) and had to use personal funds to take care of
necessary expenses involved with the business in an effort to maintain the Chapter 11 case. As a
result, he fell behind on his personal Chapter 13 bankruptcy payments and residential lease
payments. The Chapter 11 case has now been completed, and Debtor is now in a better position
to resolve his personal debts. Additionally, Debtor’s wife has started a small business of her own
and as a result of that additional household income, he believes he can successfully pay the
Chapter 13 plan payments going forward.
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                                                 4.
       Debtor filed the instant case to prevent a repossession of his vehicle and to prevent the
foreclosure of his rental properties. Extending the automatic stay will help Debtor prevent a
repossession of his vehicle, and allow him to resume payments for the mortgages and property
taxes for his rental properties as well as also allow him to address his other personal debts.
                                                 5.
       Debtor has filed the instant case in good faith. Debtor asks the Court to find that the
presumption that the instant case was not filed in good faith has been rebutted by clear and
convincing evidence, as outlined above, and extend the automatic stay. Debtor asks the Court to
allow him the opportunity to be successful in his current Chapter 13 case.


       WHEREFORE, Debtor prays that this motion be granted and that the automatic stay of
11 U.S.C. Section 362(a) be extended against all creditors.

Dated this 11th day of November 2019.

                                                      Respectfully Submitted,
                                                      ___/s/________
                                                      Howard Slomka, Esq.
                                                      Georgia Bar # 652875
                                                      Slipakoff & Slomka, PC
                                                      Attorney for Debtor
                                                      3350 Riverwood Parkway
                                                      Suite 2100
                                                      Atlanta, GA 30339
                                                      404-800-4001
                                                      se@myatllaw.com
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION
         IN RE:                                           )       CASE NO. 19-68019-LRC
                                                          )
         ALLEN LAURENCE RICHARDSON                        )       CHAPTER 13
                                                          )
                  Debtor.                                 )

                                       NOTICE OF HEARING

         PLEASE TAKE NOTICE that Allen Laurence Richardson has filed a Motion to Extend
Automatic Stay and related papers with the Court seeking an Order on the Motion to Extend Automatic
Stay.
         PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion to
Extend Automatic Stay in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive, S.W.,
Atlanta, Georgia 30303 at 1:45 P.M. on December 3, 2019.
         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one). If you do not want the court to grant the relief
sought in these pleadings or if you want the court to consider your view, then you and/or your attorney
must attend the hearing. You may also file a written response to the pleadings with the Clerk at the
address stated below, but you are not required to do so. If you file a written response, you must attach a
certificate stating when, how and on whom (including addresses) you served the response. Mail or deliver
your response so that it is received by the Clerk at least two business days before the hearing. The address
of the Clerk’s Office is: Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, SW, Atlanta,
Georgia 30303. You must also mail a copy of your response to the undersigned at the address stated
below.


Dated: November 12, 2019                                  ________/s/_____
                                                          Howard Slomka, Esq.
                                                          Georgia Bar # 652875
                                                          Slipakoff & Slomka, PC
                                                          Attorney for Debtor
                                                          3350 Riverwood Parkway
                                                          Suite 2100
                                                          Atlanta, GA 30339
                                                          404-800-4001
                                                          se@myatllaw.com
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION
       IN RE:                                      )       CASE NO. 19-68019-LRC
                                                   )
       ALLEN LAURENCE RICHARDSON                   )       CHAPTER 13
                                                   )
                Debtor.                            )


                                   CERTIFICATE OF SERVICE

       I, Howard Slomka, attorney for Debtor, certify that the below listed parties and the
attached service list have been served with a true and correct copy of the attached pleadings by
placing a copy of same in a properly addressed envelope with adequate postage thereon and
deposited in the United States Mail.

Melissa J. Davey (via ECF)
Standing Ch 13 Trustee
Suite 200
260 Peachtree Street, NW
Atlanta, GA 30303

Allen Laurence Richardson (via hand delivery)
574 Haralson Drive SW
Lilburn, GA 30047

                     SEE ATTACHED FOR ADDITIONAL CREDITORS



Dated: November 12, 2019

                                                   ____/s/______
                                                   Howard Slomka, Esq.
                                                   Georgia Bar # 652875
                                                   Slipakoff & Slomka, PC
                                                   Attorney for Debtor
                                                   3350 Riverwood Parkway
                                                   Suite 2100
                                                   Atlanta, GA 30339
                                                   404-800-4001
                                                   se@myatllaw.com
Label Matrix for Case    19-68019-lrc
                  local noticing        Doc 12(p)ASCENDIUM
                                                   Filed 11/12/19        Entered
                                                           EDUCATION SOLUTIONS  INC 11/12/19 18:39:34      Desc Main
                                                                                              Atlanta Gas Light
113E-1                                             Document
                                              2501 INTERNATIONAL LANE Page     5  of 7        10 Peachtree Pl NE
Case 19-68019-lrc                              MADISON WI 53704-3180                        Atlanta, GA 30309-4415
Northern District of Georgia
Atlanta
Tue Nov 12 18:14:45 EST 2019
Capital One Bank Usa N                         Capital Restoration                          (p)CARTER YOUNG INC
Po Box 30281                                   819 Pickens Industrial Drive N               882 N MAIN STREET
Salt Lake City, UT 84130-0281                  Marietta, GA 30062-3159                      SUITE 120
                                                                                            CONYERS GA 30012-4442


City of Milwaukee                              Credit Management Lp                         Melissa J. Davey
Office of Treasurer                            P.o. Box 118288                              Melissa J. Davey, Standing Ch 13 Trustee
PO Box 78776                                   Carrollton, TX 75011-8288                    Suite 200
Milwaukee, WI 53278-8703                                                                    260 Peachtree Street, NW
                                                                                            Atlanta, GA 30303-1236

Dept Of Education/neln                         Discover Fin Svcs Llc                        (p)EDUCATORS CREDIT UNION
3015 Parker Rd                                 Po Box 15316                                 1326 WILLOW RD
Aurora, CO 80014-2904                          Wilmington, DE 19850-5316                    MOUNT PLEASANT WI 53177-1917



Finance Sys                                    First Premier Bank                           Fred Meyer-fox/cbna
301 N Jackson                                  601 S Minnesota Ave                          Po Box 6497
Green Bay, WI 54301-4938                       Sioux Falls, SD 57104-4868                   Sioux Falls, SD 57117-6497



(p)GEORGIA DEPARTMENT OF REVENUE               Home Partners of America                     Internal Revenue Service
COMPLIANCE DIVISION                            180 N. Stetson Ave                           PO Box 7346
ARCS BANKRUPTCY                                Suite 3650                                   Philadelphia, PA 19101-7346
1800 CENTURY BLVD NE SUITE 9100                Chicago, IL 60601-6709
ATLANTA GA 30345-3202

Invitation Homes                               Jh Portfolio Debt Equi                       Kohls/capone
8601 Dunwoody Place                            5757 Phantom Drive                           N56 W 17000 Ridgewood Dr
Ste 520                                        Hazelwood, MO 63042-2415                     Menomonee Falls, WI 53051-7096
Atlanta, GA 30350-2551


(p)LANDMARK CREDIT UNION                       Lvnv Funding Llc                             Medicredit, Inc
P O BOX 510870                                 C/o Resurgent Capital Services               Po Box 1629
NEW BERLIN WI 53151-0870                       Greenville, SC 29602                         Maryland Heights, MO 63043-0629



Navient                                        Nc Financial                                 Onemain
123 S Justison St                              175 W Jackson Blvd                           Po Box 1010
Wilmington, DE 19801-5363                      Chicago, IL 60604-2615                       Evansville, IN 47706-1010



PRA Receivables Management, LLC                Peerform Inc                                 Phoenix Financial Serv
PO Box 41021                                   711 3rd Avenue                               8902 Otis Ave
Norfolk, VA 23541-1021                         New York, NY 10017-4029                      Indianapolis, IN 46216-1077
(p)PLAZA SERVICESCase
                    LLC 19-68019-lrc        Doc 12Quantum3
                                                       Filed  11/12/19
                                                           Group LLC as agent Entered
                                                                              for        11/12/19 18:39:34
                                                                                                   Quantum3 GroupDesc
                                                                                                                  LLC as Main
                                                                                                                         agent for JHPDE Financ
ATTN MANNY WILLIAMS                                    Document           Page    6  of 7
                                                  JH Met Subsidiary B Liquidating Trust LL         PO Box 788
110 HAMMOND DRIVE                                    PO Box 788                                           Kirkland, WA 98083-0788
SUITE 110                                            Kirkland, WA 98083-0788
ATLANTA GA 30328-4806

(p)REPUBLIC FINANCE LLC                              Allen Laurence Richardson                            Second Round Lp
282 TOWER RD                                         574 Haralson Drive SW                                4150 Friedrich Lane Suit
PONCHATOULA LA 70454-8318                            Lilburn, GA 30047-5377                               Austin, TX 78744-1052



Selene Finance Lp                                    Howard P. Slomka                                     Snap Finance
9990 Richmond Ave Ste 40                             Slipakoff & Slomka, PC                               1760 W. 2100 S
Houston, TX 77042-4559                               Suite 2100                                           #26561
                                                     3350 Riverwood Parkway                               Salt Lake City, UT 84199-9995
                                                     Atlanta, GA 30339-3363

(p)SPRINT NEXTEL CORRESPONDENCE                      Syncb/amazon                                         Syncb/jcp
ATTN BANKRUPTCY DEPT                                 Po Box 965015                                        Po Box 965007
PO BOX 7949                                          Orlando, FL 32896-5015                               Orlando, FL 32896-5007
OVERLAND PARK KS 66207-0949


Syncb/sams Club                                      Syncb/tjx Cos                                        Syncb/walmart
Po Box 965005                                        Po Box 965015                                        Po Box 965024
Orlando, FL 32896-5005                               Orlando, FL 32896-5015                               Orlando, FL 32896-5024



Synchrony Bank                                       Thd/cbna                                             USAA Federal Bank
c/o PRA Receivables Management, LLC                  Po Box 6497                                          9800 Fredericksburg
PO Box 41021                                         Sioux Falls, SD 57117-6497                           San Antonio, TX 78288-0002
Norfolk, VA 23541-1021


United States Attorney                               Usaa Savings Bank                                    Usaa Savings Bank
Northern District of Georgia                         10750 Mc Dermott                                     10750 Mcdermott
75 Ted Turner Drive SW, Suite 600                    San Antonio, TX 78288-1600                           San Antonio, TX 78288-1600
Atlanta GA 30303-3309


Walton EMC                                           We Energies
PO BOX 260                                           333 W Everett
Monroe, GA 30655-0260                                Milwaukee, WI 53203-2803




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Ascendium Education Solutions, Inc                   Carter-young                                         Educators Credit Union
PO Box 8961                                          882 N Main St                                        1400 N Newman Rd
Madison WI 53708-8961                                Conyers, GA 30012                                    Racine, WI 53406
                Case
(d)Educators Credit Union19-68019-lrc   Doc 12Georgia
                                                   Filed  11/12/19
                                                      Department         Entered 11/12/19 18:39:34
                                                                 of Revenue                             Desc
                                                                                           Landmark Credit Union Main
4215 Green Bay Road                                Document
                                              1800 Century Blvd       Page  7 of 7         4000 S. 27th Street
Kenosha, WI 53144                              Suite 17200                                   Milwaukee, WI 53221
                                               Atlanta, GA 30345


Plaza Service                                  Republic Finance                              Sprint
110 Hammond Drive Suite 110                    1525 E Park Place Blvd S                      PO Box 4191
Atlanta, GA 30328                              Stone Mountain, GA 30087                      Carol Stream, IL 60197-4191



End of Label Matrix
Mailable recipients    52
Bypassed recipients     0
Total                  52
